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13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14    UNITED STATES OF AMERICA,                No. CR 21-75-MCS-2

15               Plaintiff,                    GOVERNMENT’S REPLY IN SUPPORT OF
                                               ITS PROPOSED FINDINGS OF FACT AND
16                     v.                      CONCLUSIONS OF LAW IN THE TRIAL OF
                                               DEFENDANT YI CHEN
17   YI CHEN, aka “Brian Chen,”

18               Defendant.

19

20
           Plaintiff United States of America, by and through its counsel
21
      of record, the United States Attorney for the Central District of
22
      California and Assistant United States Attorneys Julia Hu and Maria
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1     Jhai, hereby submits its reply in support of its proposed findings of

2     fact and conclusions of law, filed on February 7, 2022, in the trial

3     of defendant YI CHEN in the above captioned case.

4

5      Dated: March 7, 2022                Respectfully submitted,

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2     I.   INTRODUCTION

3          The government proved beyond a reasonable doubt that defendant

4     YI CHEN (“defendant” or “defendant CHEN”) and co-defendant YIXIN LI

5     (“LI”) engaged in a fraudulent scheme to get Chinese nationals into

6     U.S. colleges, knowingly causing those colleges to issue Form I-20s

7     to their clients.     Defendant is thus guilty as charged of immigration

8     document fraud, conspiracy, and aggravated identity theft.

9     Defendant’s post-trial briefing challenges whether the government has
10    met its burden of establishing defendant’s guilt based on a single
11    disputed legal issue: the requisite mens rea.
12         Defendant does not dispute that he engaged in fraud, that he

13    knew his clients would get Form I-20s because of the fraud, or that

14    his clients indeed obtained Form I-20s as charged.          Defendant’s

15    entire opposition is premised on the novel theory that the government

16    was required to prove that he acted with the specific motive or goal

17    of getting Form I-20s for his clients, as opposed to getting them

18    into college knowing that the Form I-20s would follow.           (Dkt. 208

19    (“Def. Opp.”) at 4.)     However, defendant cites not a single authority

20    to support his novel reading of the immigration document fraud,

21    aiding and abetting, or conspiracy statutes.         He also ignores the

22    numerous cases cited establishing that defendant is guilty of

23    immigration document fraud if he knowingly obtained Form I-20s,

24    knowing they had been procured by fraud.         And contrary to defendant’s

25    mistaken reading, neither the aiding and abetting nor the conspiracy

26    statutes impose a higher mens rea than the substantive offense.

27    Because the evidence of guilt is undisputed under the government’s

28    correct reading of the law, defendant is guilty of all counts.
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1     II.   DEFENDANT CHEN IS GUILTY OF IMMIGRATION DOCUMENT FRAUD, AS
            CHARGED IN COUNTS NINE THROUGH NINETEEN
2

3           A.   The Requisite Intent is Knowledge

4           Defendant contends that the government was required to prove

5     that he acted with the specific purpose of obtaining or causing Form

6     I-20s to issue.    (Def. Opp. 4.)     However, defendant’s theory finds no

7     support in either the immigration document fraud or aiding and

8     abetting statutes.

9           The plain text of 18 U.S.C. § 1546 makes it clear that the
10    requisite intent is knowledge.       See 18 U.S.C. § 1546(a) (prohibiting
11    “knowingly . . . obtain[ing] . . . [a] [Form I-20], knowing

12    it . . . to have been procured by means of any false claim or

13    statement, or to have been otherwise procured by fraud or unlawfully

14    obtained” (emphasis added)).       Indeed, defendant agrees that § 1546(a)

15    requires proof only that he knowingly obtained I-20s, knowing that

16    they were obtained by fraud.       (See Def. Opp. 13.)

17          Defendant is equally guilty of immigration document fraud under

18    18 U.S.C. § 2(b) if he “willfully caused” Form I-20s to be obtained.

19    Defendant apparently misconstrues the term “willfully” to impose a

20    higher mens rea of specific purpose or intent.          (Def. Opp. 14.)    Not

21    so.   As the government explained in its opening brief, § 2(b)

22    requires proof only that defendant “intentionally cause[d] another to

23    commit” the actus reus of the substantive offense.          United States v.

24    Gabriel, 125 F.3d 89, 101 (2d Cir. 1997), overruling on other grounds

25    recognized by United States v. Quattrone, 441 F.3d 153 (2d Cir.

26    2006); see United States v. Singh, 979 F.3d 697, 717–18 (9th Cir.

27    2020), cert. denied sub nom. Matsura v. United States, 210 L. Ed. 2d

28    833 (May 24, 2021) (“Under [§ 2(b)] liability, the actus reus element

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1     merges with the mens rea element to focus liability on the person

2     harboring the criminal intent.”).         “Intentionally” in this context

3     means only that defendant “kn[ew] what he [wa]s doing.”           United

4     States v. Dashney, 937 F.2d 532, 538 (10th Cir. 1991) (emphasis

5     added); see also Browder v. United States, 312 U.S. 335, 341 (1941)

6     (construing “willfully” in the passport fraud statute to mean

7     “deliberately and with knowledge and not something which is merely

8     careless or negligent or inadvertent”).

9          In causing another to commit the actus reus, defendant must
10    harbor the same mens rea as the substantive offense.           See Gabriel,

11    125 F.3d at 101 (“The most natural interpretation of section 2(b) is

12    that a defendant with the mental state necessary to violate the

13    underlying section is guilty of violating that section if he

14    intentionally causes another to commit the requisite act.”); United

15    States v. Vaccaro, 816 F.2d 443, 453–54 (9th Cir. 1987) (“Because an

16    aider and abettor is punished as a principal, the proof must

17    encompass the same elements as would be required to convict any other

18    principal.” (cleaned up)).      Contrary to defendant’s mistaken reading,

19    § 2(b) does not import a higher intent requirement than the

20    substantive offense.     See United States v. Michaels, 796 F.2d 1112,

21    1118 (9th Cir. 1986) (rejecting the argument “that the specific

22    inclusion of § 2(b) in the indictment somehow alters the nature of

23    the offense with which [defendant] is charged”).

24         In other words, the mens rea for aiding and abetting immigration

25    document fraud is the same as the mens rea for the substantive

26    offense.   Defendant does not dispute the elements for the substantive

27    offense.   (Def. Opp. 13.)     Thus, taken together, § 1546 and § 2(b)

28    require proof that (1) defendant knowingly obtained, or willfully

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1     caused to be obtained, a Form I-20; and (2) defendant knew the Form

2     I-20 to have been procured by means of any false claim or statement,

3     otherwise procured by fraud, or unlawfully obtained.

4          United States v. Fairchild, 990 F.2d 1139 (9th Cir. 1993), which

5     the parties cited in its purposed jury instruction (Dkt. 118 at 54),

6     is wholly consistent with the government’s reading of § 2(b).            There,

7     the defendant, an employee of a government contractor, was charged

8     under § 2(b) and § 1001 with submitting false statements to the

9     General Services Administration (“GSA”).         The false statements took
10    the form of Quality Approved Manufacturer Agreement program (“QAMA”)
11    certificates, which certified that each shipment of goods complied
12    with the government contract and waived government inspection of the
13    shipment.   Fairchild, 990 F.2d at 1140.       The Ninth Circuit held that
14    there was sufficient evidence that the defendant “acted voluntarily

15    and intentionally and with the purpose of causing false QAMA

16    certificates to be filed because he continued to order packing” in a

17    non-compliant manner “after he knew that false certificates were

18    being signed and supplied to the GSA.”        Id. (emphasis added).

19    Fairchild did not require proof that the defendant acted with the

20    specific purpose of causing the QAWA certificates to be filed.

21    Similarly, defendant CHEN “evinced the requisite criminal intent” by

22    submitting fraudulent college applications, “with the knowledge that”

23    his clients would consequently be certified as eligible for study in

24    the United States in Form I-20s “and that the certificates

25    necessarily would be false.”       Id.

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1           B.    The Government Proved that Defendant Acted with the
                  Requisite Intent
2

3           As set forth in its proposed findings, the government proved

4     beyond a reasonable doubt that defendant submitted or caused to be

5     submitted fraudulent college admissions applications for each of the

6     students named in Counts Nine through Nineteen, knowing that the

7     students would be issued Form I-20s as a result.          (Dkt. 195 (“Gov.

8     PFFCL”) at 25-59, 69-92.)       Defendant does not contest that the

9     government proved beyond a reasonable doubt that he knowingly
10    submitted or caused to be submitted fraudulent admissions
11    applications for each of the students named in Counts Nine through
12    Nineteen.    Nor does he contest that the government’s evidence, which
13    included defendant’s own statements that he first came to the United
14    States on a student visa and started MS Education to help Chinese
15    nationals get into the United States, various MS Education documents
16    purporting to provide information about student visa procedures, and
17    LI’s testimony that they knew that schools would issue Form I-20s if
18    their clients got into school, proved beyond a reasonable doubt that

19    defendant knew Form I-20s would be obtained as a result of the

20    fraudulent admissions applications that he engineered.           (See Gov.

21    PFFCL 67-69.)

22          Defendant’s sole defense is that there is insufficient evidence

23    that he himself performed or explicitly agreed to help students

24    specifically with any additional steps needed to get Form I-20s.

25    (Def. Opp. 14-23.)     However, defendant ignores the abundant case law

26    that the government cited establishing that no such evidence is

27    required.    (Gov. PFFCL 65-71.)     Those cases direct courts to focus on

28    “the entire immigration process directed at an ultimate result that

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1     defendant sought when asserting [a] falsehood,” and not isolated

2     documents or steps.      United States v. Wu, 419 F.3d 142 (2d Cir. 2005)

3     (emphasis added).     Courts have upheld fraud convictions based on

4     falsities in a financial affidavit of support in connection with a

5     petition for an alien relative, see id. at 144-46, employment letters

6     filed in connection with seeking an immigrant visa, see United States

7     v. Valdez, 594 F.2d 725, 727-28 (9th Cir. 1979), and certification

8     applications that are prerequisites to getting a visa, see United

9     States v. Ryan-Webster, 353 F.3d 353, 361 (4th Cir. 2003).            As these
10    cases make clear, falsities in components of the process of getting

11    an immigration document are as equally criminalized as falsities in

12    the application for the document itself.

13          Here, the college applications that defendant CHEN egregiously

14    faked were more than just one incremental step in getting student

15    visas; acceptance was the central condition upon which the student

16    visas were granted.      See 8 U.S.C. § 1101(a)(15)(F)(i) (permitting the

17    issuance of F-1 visas only for “bona fide student[s] [who are]

18    qualified to pursue a full course of study and who seek[] to enter

19    the United States temporarily and solely for the purpose of pursuing

20    such a course of study”).       As set forth in more detail in the

21    government’s proposed findings, the Immigration and Nationality Act’s

22    (“INA”) implementing regulations institute a careful scheme for

23    ensuring that F-1 visas are only granted to foreign nationals who are

24    “bona fide students qualified”--i.e., accepted for admission–-to

25    study in the United States.       Id. (emphasis added); (Gov. PFFCL 2-10.)

26          Those regulations permit schools to issue a Form I-20 only upon

27    acceptance of a student based on review of his/her admissions

28    application.    See 8 C.F.R. §§ 214.2(f)(1)(i)(A), 214.3(k); (Gov.

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1     PFFCL 3-8.)    Although schools may set their own standards for

2     admission, a complete and truthful application is universally a

3     prerequisite for admission.       (See, e.g., Tr. Ex. 149 at 7; Tr. 148 at

4     5.)   Thus, fraud in a foreign student’s admissions application is

5     fraud in procuring a Form I-20.        Defendant’s unduly narrow

6     construction of the immigration fraud statute would provide an end-

7     run for student visa fraudsters, given that there is no way to obtain

8     a Form I-20 directly from an agency.

9           Defendant is flatly incorrect that the government was required
10    to prove that he participated in “applying for” an I-20, as opposed
11    to for school.     (Def. Opp. 5, 13-22.)      As a threshold matter, the
12    record does not support defendant’s characterization that there is a
13    separate “application” for a Form I-20 than for admissions.
14    Defendant misconstrues Special Agent Taylor’s testimony to suggest
15    that all schools require a separate “application” or “request” for an
16    I-20 following acceptance.       (Dkt. 208 at 5; Dkt. 164 at 229:20-25.)
17    Agent Taylor did not so testify; rather, he testified that students
18    may have to pay additional fees and deposits following their

19    acceptance before getting an I-20.        (Dkt. 164 at 229:17-19, 23-25.)

20    Moreover, the government presented evidence that defendant CHEN was

21    involved in these additional post-acceptance steps, including

22    submitting financial affidavits and paying fees.          (See, e.g., Gov.

23    PFFCL 36-37, 44, 56-57.)

24          In any event, it is irrelevant to defendant’s guilt that other

25    steps or materials may have been required before a school would issue

26    a Form I-20.    Under § 2(b), defendant CHEN need not have personally

27    performed every aspect of the offense; he is guilty if he “put[] in

28    motion or cause[d] the commission of an indispensable element of the

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1     offense.”    Ninth Circuit Model Criminal Jury Instruction 4.2 (2022).

2     Here, defendant put in motion the “indispensable element” of

3     obtaining Form I-20s by submitting the fraudulent college

4     applications.     There is no requirement that defendant personally

5     obtain the I-20s; it is enough that issuance of the I-20s “flowed

6     naturally or w[as] a direct result” of his conduct.           United States v.

7     Ubaldo, 859 F.3d 690, 701 (9th Cir. 2017).         That a student may have

8     taken additional actions necessary to complete the offense and obtain

9     the I-20 does not break the chain of causation.          See id. (defendants
10    properly convicted of unlawful weapons importation where they sold

11    weapons knowing the weapons would be smuggled, even though the buyers

12    handled the shipping and defendants did not direct them to do so).

13          Nor was the government required to prove that defendant

14    explicitly agreed to help the students named in Counts Nine through

15    Nineteen get Form I-20s or student visas as opposed to getting into a

16    U.S. school or university.       Defendant makes much of the fact that the

17    MS Education contracts required payment upon acceptance, rather than

18    issuance of a Form I-20.      (Def. Opp. 15-16, 18-19.)       For one,

19    defendant ignores the other language in the contracts proving that MS

20    Education was involved not only in preparing application materials,

21    but also visa application materials.        (See, e.g., Tr. Ex. 19 at 1

22    (requiring the student to submit “supplemental materials” related to

23    changes in “US visa policy”); Tr. Ex. 21 at 2 (same).)           Moreover, it

24    is common sense that criminals do not “typically put all the terms of

25    their fraud in writing.”      (Dkt. 166 at 11:18-12:24.)

26          In any event, the government is not required to prove that the

27    defendant “affirmatively desire[d]” that his clients would get Form

28    I-20s.   Rosemond v. United States, 572 U.S. 65, 79 (2014).           In

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1     Rosemond, the Supreme Court held that aiding and abetting a violation

2     18 U.S.C. § 924(c) did not require that the defendant “affirmatively

3     desire one of his confederates to use a gun.”          Id. (emphasis added).

4     Instead, the requisite intent is “active participation in a drug

5     sale . . . (even if the conduct does not extend to the firearm), so

6     long as the defendant had prior knowledge of the gun’s involvement.”

7     Id. at 82.    Similarly, here, the government was not required to prove

8     that defendant CHEN “affirmatively desire[d]” or promised that his

9     clients would get Form I-20s.       It is sufficient that the government
10    proved beyond a reasonable doubt that defendant CHEN “actively
11    participated” in submitting fraudulent college admissions
12    applications on his clients’ behalf with “prior knowledge” that they
13    would get Form I-20s as a result.         Id.
14    III. DEFENDANT CHEN IS GUILTY OF CONSPIRACY, AS CHARGED IN COUNT ONE

15          Defendant relies on many of the same mistaken arguments to

16    support his contention that he is not guilty of conspiracy.            In

17    particular, defendant appears to argue that the government proved, at

18    most, that defendant and LI agreed to commit admissions fraud, but

19    did not prove that they agreed to commit immigration document fraud

20    and therefore cannot be guilty of the charged conspiracy.            (See Def.

21    Opp. 1-2.)    This is wrong.     The government proved the conspiracy

22    exactly as charged for the reasons set forth herein.

23          A.    The Government Proved That Defendant Acted with the
                  Requisite Intent
24

25          First--contrary to the premise of defendant’s entire

26    argument--the government is not obligated to prove that defendant

27    acted with the specific intent to obtain I-20s, or that defendant and

28    LI specifically agreed to obtain I-20s, because that is not an intent

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1     requirement in the underlying statute itself.          The immigration

2     document fraud statute requires proof that defendant knowingly

3     obtained I-20s, knowing that they were obtained by fraud.            Again,

4     this is undisputed.      (See Def. Opp. 13.)     Like § 2(b), § 371 does not

5     import a different or higher intent requirement.

6           Specifically, the conspiracy count, like each substantive count,

7     charges CHEN with conspiring to obtain, or willfully causing to be

8     obtained, Form I-20s by fraud.       (Dkt. 1 at ¶ 13 (object of the

9     conspiracy).)     As discussed above (see supra 2-3), § 2(b) does not
10    change the mens rea of the substantive offense.          Rather, it merely

11    requires proof that defendant willfully caused another to commit the

12    actus reus, while defendant himself had the mens rea for the

13    offense--not a different or heightened or more specific mens rea; the

14    same mens rea as the underlying offense.         See 18 U.S.C. § 2(b);

15    Michaels, 796 F.2d at 1118; Gabriel, 125 F.3d at 101.

16          Likewise, the conspiracy charge does not carry a heightened mens

17    rea requirement.     Proof of conspiracy requires proof of an agreement

18    to violate the law, an overt act, and “the requisite intent to commit

19    the substantive crime.”      See United States v. Kaplan, 836 F.3d 1199,

20    1212 (9th Cir. 2016) (cleaned up) (emphasis added); United States v.

21    Baker, 63 F.3d 1478, 1493 (9th Cir. 1995) (“Establishing a

22    defendant’s guilt of conspiracy to commit a substantive crime

23    requires proof of the mens rea essential for conviction of the

24    substantive offense . . . No greater or different intent is

25    necessary.”) (cleaned up) (emphasis added).)

26          Thus, as with the individual substantive counts, the government

27    has proved the requisite intent for the conspiracy count if it shows

28    that CHEN and LI agreed to knowingly obtain, or willfully cause

                                            10
     Case 2:21-cr-00075-MCS Document 211 Filed 03/07/22 Page 16 of 22 Page ID #:3008



1     others to obtain, Form I-20s, knowing that the I-20s were obtained by

2     means of fraudulent statements.        See 18 U.S.C. §§ 1546(a), 2(b);

3     Kaplan, 836 F.3d at 1212.       In other words, CHEN and LI had to agree

4     to act with knowledge that the I-20s would have issued as a result of

5     fraud.

6           That guilty knowledge is indisputably established here.           The

7     record is replete with evidence that CHEN and LI knew that their

8     foreign student clients would get issued I-20s if their fraudulent

9     application services resulted in admission to a school.            LI admitted
10    it.   (Dkt. 189 at 13:8-24.)      CHEN himself came to the United States
11    on a student visa and thus knew about I-20s from personal experience.
12    (Dkt. 164 at 118:9-22; Tr. Ex. 6-8; Br. Ex. D at 1:2-2:8.)
13    Advertisements for LI and CHEN’s services show their knowledge.             (See
14    Tr. Exs. 30, 61, 64.)      CHEN specifically advertised “Fast issuance

15    for I20 CPT, OPT,” as part of his admissions services.           (Dkt. 189 at

16    36:14-39; Tr. Ex. 61.)      As LI testified, a “fast” I-20 service was

17    designed for students who were about to be terminated from a program

18    and needed an I-20 so they would not lose student visa status. (Dkt.

19    189 at 38:3-21.)     Likewise, CHEN identified procurement of an I-20 as

20    an express service in at least one contract found on his computer. 1

21    (Dkt. 189 at 43:3-44:14; Tr. Ex. 35.)         Other contracts promised to

22    advise students about “visa policy” and “the process of obtaining a

23    visa and application procedures.”        (Tr. Ex. 19 at 1; Tr. Ex. 21 at

24    1.)   MS Education internal documents likewise demonstrate knowledge

25

26
            1Exhibit 35 shows CHEN’s knowledge. As discussed below, it is
27    immaterial whether every contract made receipt of an I-20 an explicit
      condition of payment. The point is CHEN cannot deny that he
28    understood that he understood that issuance of an I-20 would follow
      admission.
                                      11
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1     of the visa consequences of admission to schools, and that such

2     knowledge was part and parcel of the business plan.           (See Tr. Ex. 17

3     at 1, 4, 6 (offering “OPT,” a program that allows extension of a

4     student visa after graduation); id. at 1, 9 (offering admission

5     services for schools where it was easy to maintain visa status).

6     These are just examples of the evidence of knowledge that an I-20

7     would issue; there is more in the record.         (See Gov. PFFCL 100-101.)

8           Likewise, the evidence shows indisputably that CHEN and LI knew

9     that the I-20s their clients received were obtained by fraud and
10    false statements in the school applications.          The evidence on this
11    point was overwhelming and, again, went virtually unchallenged.
12    Defendant and LI themselves personally engineered the fraudulent
13    applications.     This is evidenced by, among other things, LI’s
14    testimony about their use of fraudulent tactics, (see, e.g., Dkt. 189
15    at 28:17-30:12; Dkt. 174 at 30:7–41:23, 44:1-44:190); Jeffrey

16    Gottesfeld’s testimony and his lengthy correspondence with CHEN

17    documenting CHEN’s payment for fabricated personal statements and

18    letters that were used in student applications, (see Dkt. 180 at

19    32:4-33:4); the materials for creating counterfeit transcripts stored

20    on CHEN’s computer that were also used in multiple students’

21    applications, (see Tr. Exs. 31, 141, 143, 153); and LI’s emails to

22    CHEN attaching fraudulent transcripts found in applications submitted

23    on the student’s behalf, (Tr. Exs. 44, 44A, 47; Dkt. 166 at 161:16-

24    162:5; Tr. Exs. 198, 200, 219.). (See also Gov. PFFCL 99-100

25    (summarizing evidence).)

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                                            12
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1           B.     Defendant’s Attacks on the Sufficiency of the Evidence Are
                   Meritless
2
            Defendant does not appear to contest any of this evidence of
3
      guilt.     Rather, he makes a series of legal arguments that the
4
      evidence is not sufficient for guilt, which the Court should reject,
5
      as follows.
6
            First, as noted above, defendant makes much of his allegation
7
      that he and LI did not personally physically obtain the I-20s for
8
      their clients, but rather the student may have had to take an
9
      additional step to obtain the I-20.        (Def. Opp. 5-6.)     For reasons
10
      explained above (see supra 5-9), this is irrelevant.           Defendant is
11
      guilty of conspiring to cause Form I-20s to be obtained if he and LI,
12
      acting with the requisite knowledge, agreed to submit fraudulent
13
      college applications for their clients, thereby “put[ting] in motion”
14
      the Form I-20s’ issuance.       Ninth Circuit Model Criminal Jury
15
      Instruction 4.2 (2022); Ubaldo, 859 F.3d at 701; United States v.
16
      Giese, 597 F.2d 1170, 1179 (9th Cir. 1979) (holding that the
17
      conspiracy statute encompasses “participation in a conspiracy ‘to
18
      cause to be committed’ a substantive offense” (quoting 18 U.S.C.
19
      § 2(b)).
20
            Second, defendant argues that the conspiracy ended--and thus
21
      there can be no criminal liability for issuance of the I-20s—-once
22
      the applications were submitted.        (See Def. Opp. 6-7, 8-12.)
23
      Defendant, first, tries to make the student contracts co-extensive
24
      with the conspiracy, arguing that because contracts did not identify
25
      getting a Form I-20 as a promised service and provided that students
26
      would pay upon gaining admission and not on receipt of an I-20, that
27
      is somehow proof that CHEN and LI did not agree to commit the charged
28

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1     offense.    (Id. at 6-7.)    As a threshold point, it is “not necessary

2     that the conspirators ma[k]e a formal or express agreement.”            United

3     States v. Espinoza-Valdez, 889 F.3d 654, 656 (9th Cir. 2018).             The

4     Court can, and should, look for evidence of the parties’ agreement

5     outside the contracts.      Indeed, it would be somewhat ridiculous to

6     treat the contracts that defendant used to perpetrate the fraud as

7     limiting his liability just because they do not lay bare all his

8     guilty knowledge.

9           Defendant’s larger point seems to be to try to create an
10    artificial distinction between the fraudulent admissions services and
11    the charged conspiracy.      (See Def. Opp. 6-12.)      To this end,
12    defendant characterizes a student’s receipt of the I-20 as merely an

13    incidental “result” of the admissions fraud and somehow not part of

14    the conspiracy or as something that happened only after the

15    conspiracy ended.     (See Def. Opp. 4 (citing United States v. Kissel,

16    31 S. Ct. 125 (1910).)      Again, this argument fatally misconstrues the

17    charges.    The charged object of the conspiracy is violation of

18    §§ 1546(a), 2(b), that is, knowingly obtaining, or willfully causing

19    to be obtained, Form I-20s, knowing that the I-20s were obtained by

20    means of fraud.     (Dkt. 1 at ¶ 13.)      The fraudulent admissions

21    services are how CHEN and LI obtained the I-20s; indeed, there was no

22    way for them to get I-20s for their clients without getting them into

23    to school.    That CHEN and LI engaged in the conduct under the guise

24    of a business, using contracts, creating advertising, and charging

25    clients, does not negate their intent or render it irrelevant.             To

26    wit, CHEN and LI are guilty because they agreed to commit, or cause

27    to be committed, the fraudulent acts (submitting the falsified

28    applications) and they did so with the requisite knowledge (knowing

                                            14
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1     that a Form I-20 would issue as a result of the fraud).            Defendant’s

2     attempt to make his guilty knowledge somehow irrelevant--the basis of

3     his entire attack on the conspiracy charge--should be rejected.

4     Defendant is guilty of the conspiracy charge.

5     IV.    DEFENDANT CHEN IS GUILTY OF AGGRAVATED IDENTITY THEFT, AS
             CHARGED IN COUNT TWENTY-ONE
6

7            The parties agree on the elements of aggravated identity theft:

8     (1) defendant knowingly transferred, possessed, or used without legal

9     authority a means of identification of another person; (2) defendant
10    knew that the means of identification belonged to a real person; and
11    (3) the defendant did so during and in relation to a violation of 18
12    U.S.C. § 1546(a), as charged in Count Ten.         United States v. Doe, 842
13    F.3d 1117, 1119-20 (9th Cir. 2016); Flores-Figueroa v. United States,

14    556 U.S. 646 (2009); Ninth Circuit Criminal Jury Instruction No. 8.83

15    (2022).    Defendant does not contest that the government proved the

16    first two elements beyond a reasonable doubt.          Defendant’s sole

17    challenge is that there was insufficient evidence that he

18    transferred, possessed, or used Tong Jin’s means of identification

19    “during and in relation to” a violation of § 1546.

20           Defendant’s attack on this count is premised on the same

21    erroneous assumptions as his attacks on the conspiracy and individual

22    fraud counts.     He asserts that the government was required to prove

23    that he used, possessed, or transferred Jin’s means of identification

24    “during and in relation to” an application or request for an I-20, as

25    opposed to during the admissions application process.           (Def. Opp. 25-

26    26.)    As explained above, defendant committed the substantive offense

27    of immigration document fraud if he knowingly submitted, or willfully

28

                                            15
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1     caused to be submitted, a fraudulent college admissions application

2     in Tong Jin’s name, knowing that she would obtain an I-20 as result.

3           Defendant does not dispute that the government proved beyond a

4     reasonable doubt that he knowingly submitted an admissions

5     application to NYU in Tong Jin’s name that contained a fraudulent

6     transcript and TOEFL score 2 with her real identifying information, or

7     that he knew Jin would be issued an I-20 upon acceptance.            That

8     suffices to show that defendant used and possessed Jin’s means of

9     identification “during and in relation to” the crime of immigration
10    document fraud.
11          In any case, contrary to defendant’s characterization of the
12    record, the government proved beyond a reasonable doubt that CHEN
13    used Jin’s means of identification “during and in relation to”
14    requesting an I-20 for her.       Specifically, defendant CHEN used the
15    names of Tong Jin and her parent, Xiaoliang Jin, on a financial
16    affidavit that was submitted to NYU on December 7, 2016, 3 after she
17

18         2 Defendant mistakenly contends that NYU did not require a
      passing TOEFL score for admission. (Def. Opp. 27-28.) Because her
19    application showed that she attended high school in China (Tr. Ex.
      133), Jin was “required to submitted TOEFL/IELTS scores,” with a
20    “recommended score [of] 100” (Tr. Ex. 100A). Thus, although the Form
      I-20 issued by NYU stated that English proficiency was not required,
21    Jin was required to submit a TOEFL score as a condition of admission.
22         3 Although defendant points out that the indictment alleged that
      the aggravated identity theft crime took place “[o]n or about
23    September 29, 2016,” which is the date that defendant CHEN submitted
      Jin’s admissions application to NYU (Dkt. 1 at 12; Def. Opp. 26), “it
24    is not necessary for the government to prove that the offense was
      committed precisely on the date charged,” only “that the offense was
25    committed on a date reasonably near the date alleged in . . . the
      indictment.” Ninth Circuit Model Criminal Jury Instruction No. 3.18
26    (2022); see United States v. Loya, 807 F.2d 1483, 1493-94 (9th Cir.
      1987) (approving similarly worded “on or about” jury instruction).
27    It is thus proper for the Court to consider evidence of defendant’s
      use of Tong Jin’s means of identification in a document submitted
28    less than three months after the date specified in the indictment to
      the same school as Jin’s fraudulent admissions application.
                                      16
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1     had already accepted for admission.        (Tr. Ex. 28 at 1; Tr. Ex. 144 at

2     3.)   As explained in the government’s opening brief, this financial

3     affidavit was a requirement specifically for getting a Form I-20, not

4     admission.    (Gov. PFFCL 5; Dkt. 164 at 31:8-24.)        Thus, defendant is

5     guilty of aggravated identity theft even under his own mistaken

6     reading of the statute.

7           Nor was the government required to prove that Crystal Kim, who

8     took the TOEFL exam in Jin’s name at the direction of co-conspirators

9     working with LI and CHEN, used those means of identification in
10    connection with applying for an I-20.         The government proved beyond a
11    reasonable doubt that defendant transferred Jin’s means of
12    identification to a co-conspirator for the purpose of facilitating a
13    fraudulent TOEFL score in her name.        (See Gov. PFFCL 33-35, 106-107.)
14    Defendant’s transfer of Jin’s means of identification “furthered and

15    facilitated” the fraud because it ensured that Kim could pass herself

16    off as Jin during the exam.       United States v. Gagarin, 950 F.3d 596,

17    604-05 (9th Cir. 2020).      Defendant submitted the TOEFL score that Kim

18    achieved in Jin’s name as part of her application to NYU, knowing it

19    was fraudulent and that Jin would get an I-20 if accepted.            Thus,

20    defendant’s transfer of Jin’s means of identification was “during and

21    in relation” to immigration document fraud.

22    V.    CONCLUSION

23          For the foregoing reasons, the government respectfully requests

24    that the Court enter the government’s proposed findings of fact and

25    conclusions of law and find defendant CHEN guilty of all counts.

26

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                                            17
